                          UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

 LONESTAR AIRPORT HOLDINGS, LLC,
                                                   Civil Action No. 1:22-cv-00770-RP
        Plaintiff,


 v.


 CITY OF AUSTIN, TEXAS,


        Defendant.



                         DECLARATION OF ANDREW T. NGUYEN

        Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

        1.      My name is Andrew T. Nguyen. I am an attorney licensed in the State of California,

an attorney at Munger, Tolles & Olson, LLP, and admitted to practice pro hac vice before this

Court. I am counsel for Plaintiff Lonestar Airport Holdings, LLC in the above-captioned matter.

I have personal knowledge of the facts set forth below and could testify competently to those facts

if called to do so.

        2.      I submit this declaration in support of Lonestar’s Motion for Preliminary

Injunction, Dkt. 20 (the “PI Motion”).

        3.      Attached as Exhibit A is a true and correct copy of Exhibit 1 referenced on slide 23

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

        4.      Attached as Exhibit B is a true and correct copy of Exhibit 2 referenced on slide 30

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.
       5.     Attached as Exhibit C is a true and correct copy of Exhibit 3 referenced on slide 31

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       6.     Attached as Exhibit D is a true and correct copy of Exhibit 4 referenced on slide 33

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       7.     Attached as Exhibit E is a true and correct copy of Exhibit 5 referenced on slide 33

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       8.     Attached as Exhibit F is a true and correct copy of Exhibit 6 referenced on slide 34

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       9.     Attached as Exhibit G is a true and correct copy of Exhibit 7 referenced on slide 35

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       10.    Attached as Exhibit H is a true and correct copy of Exhibit 8 referenced on slide 36

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       11.    Attached as Exhibit I is a true and correct copy of Exhibit 9 referenced on slide 39

of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       12.    Attached as Exhibit J is a true and correct copy of Exhibit 10 referenced on slide

43 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       13.    Attached as Exhibit K is a true and correct copy of Exhibit 11 referenced on slide

51 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       14.    Attached as Exhibit L is a true and correct copy of Exhibit 12 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       15.    Attached as Exhibit M is a true and correct copy of Exhibit 13 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.
       16.       Attached as Exhibit N is a true and correct copy of Exhibit 14 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       17.       Attached as Exhibit O is a true and correct copy of Exhibit 15 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       18.       Attached as Exhibit P is a true and correct copy of Exhibit 16 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       19.       Attached as Exhibit Q is a true and correct copy of Exhibit 17 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       20.       Attached as Exhibit R is a true and correct copy of Exhibit 18 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       21.       Attached as Exhibit S is a true and correct copy of Exhibit 19 referenced on slide

63 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.

       22.       Attached as Exhibit T is a true and correct copy of Exhibit 6 to the December 15,

2022, Rule 30(b)(6) deposition of Holland Young, referenced on slide 13 of Lonestar’s PowerPoint

presentation used at the January 20, 2023, hearing on the PI Motion.

       23.       Attached as Exhibit U is a true and correct copy of the run sheet showing excepts

from the December 15, 2022, Rule 30(b)(6) deposition of Holland Young that are included in the

video on slide 21 of Lonestar’s PowerPoint presentation used at the January 20, 2023, hearing on

the PI Motion.

       24.       Attached as Exhibit V is a true and correct copy of Exhibit 48 to the December 15–

16, 2022, Rule 30(b)(6) deposition of Tracy Thompson, referenced on slide 38 of Lonestar’s

PowerPoint presentation used at the January 20, 2023, hearing on the PI Motion.
       I declare, pursuant to 28 U.S.C. § 1746, and under penalty of perjury under the laws of the

United States of America, that the foregoing is true and correct.

       Executed this 22nd day of January 2023 in New York, New York.




                                                             Andrew T. Nguyen
                                CERTIFICATE OF SERVICE

       I hereby certify that on January 22, 2023, I electronically submitted the foregoing

document with the clerk of the United States District Court for the Western District of Texas,

using the electronic case management CM/ECF system of the Court which will send notification

of such filing to all counsel of record who are deemed to have consented to electronic service.

                                                     /s/ Andrew T. Nguyen
                                                     Andrew T. Nguyen
